Case 1:22-cv-00023-JPJ-PMS Document 82 Filed 07/16/24 Pagelof3 Pageid#: 2018

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA

ABINGDON DIVISION

THE CITY OF BRISTOL, TENNESSEE, )
)
Plaintiff, )

) Case No. 1:22CV00023
Vv. )
THE CITY OF BRISTOL, VIRGINIA,
Defendant.

STIPULATION BETWEEN THE PARTIES
AMENDMENT TO CONSENT ORDER

Pursuant to Section [V(3) of the Consent Final Order For Permanent Injunction and Other
Relief, Plaintiff The City of Bristol, Tennessee (“Bristol TN”), by and through its undersigned
counsel, and Defendant The City of Bristol, Virginia (“Bristol VA”), by and through its undersigned
counsel, hereby stipulate as follows:

On March 21, 2024, the Circuit Court of the City of Richmond in The Commonwealth of
Virginia et al. vs. The City of Bristol, VA, Case No. CL230000274-00 received and filed Notice
of an amendment to the Consent Decree entered into between the Virginia Department of
Environment Quality and the City of Bristol, Virginia. (See Exhibit 1). The parties to Case No.
1:22CV00023 are now stipulating to the same amendment to the Consent Order issued by this
Court. The amendment extends the deadline for installation of the Ethylene Vinyl Alcohol
(“EVOH”) Cover until an acceptable rate of settlement is reached, or until December 1, 2026,
whichever occurs first. Following is the amended language to Appendix A, Section 6
Intermediate Cover and EVOH Cover System, subsection iv of the Consent Decree in The
Commonwealth of Virginia et al. vs. The City of Bristol, VA:

Appendix A, Section 6 Intermediate Cover and EVOH Cover System

iv. Install the EVOH cover system once an acceptable rate of settlement has been reached,
but not to exceed December 1, 2026. To determine an acceptable rate of settlement, Bristol shall
conduct EVOH deployment suitability assessments (“Assessments”) of SWP 588 based on the
itemized settlement criteria listed below. The first Assessment shall be completed by March 28,
2024, and submitted to DEQ within 10 business days. Each subsequent Assessment of SWP 588
Case 1:22-cv-00023-JPJ-PMS Document 82 Filed 07/16/24 Page 2of3 Pageid#: 2019

shall be repeated at least every 3 months, and submitted to DEQ within 10 business days, until an
acceptable settlement rate for EVOH cover system deployment is reached.

A cumulative summary of all the Assessments, to date, must be provided to DEQ for
concurrence, prior to the determination to proceed with the deployment of the EVOH cover
system. Bristol’s cumulative Assessment summary shall include a determination, applying the
itemized criteria below, on whether SWP 588 has reached an acceptable settlement rate to allow
for safe and lasting deployment of the EVOH cover system. Determination that SWP 588 has
reached an acceptable settlement rate shall require DEQ concurrence. Bristol shall properly
deploy the EVOH cover system within 6 months of DEQ’s concurrence, to be extended to a total
of 9 months, if DEQ determines such extension is warranted. Bristol shall endeavor to properly
deploy the EVOH cover system as soon as practicable. Prior to the proper deployment of the
EVOH cover system, Bristol shall re-shape the existing interim cover surface of the landfill to
direct storm water runoff to storm water management (SWM) basins located at appropriate
points on the surface of the landfill.

EVOH deployment suitability assessments of SWP 588 shall be based on the following
settlement criteria:
e The rate of settlement of the waste has transitioned to a state of long-term secondary
compression with the settlement varying approximately logarithmically with time;
e Strain rate at all settlement plates is less than 1% per year, or a rate identified as
consistent with ‘secondary compression of municipal solid waste. Strain rate is defined
here as the ratio of the change in vertical elevation of the surface of the waste at a
given location to the thickness of the waste at that location per unit time; and
e Surface cracks due to settlement having a width less than 1-inch.

Based on the foregoing, the Court accepts this stipulation and amends the Consent Final Order
entered in this case to incorporate the revision to, Appendix A, Section 6.iv.

IT IS SO ORDERED.

Date:

UNITED STATES DISTRICT JUDGE
Case 1:22-cv-00023-JPJ-PMS Document 82 Filed 07/16/24 Page 3of3 Pageid#: 2020

Seen and Agreed To:

(Lu Quel 2olrty C_
Andrea W. Wortzel (VSB M6. 40342)
Michael E. Lacy (VSB No. 48477)
Viktoriia De Las Casas (VSB No. 89105)
Emily Guillaume (VSB No. 96143)
TROUTMAN PEPPER HAMILTON SANDERS LLP
1001 Haxall Point

Richmond, VA 23219

Telephone: (804) 697-1200

andrea. wortzel@troutman.com
michael.lacy@troutman.com
viktoriia.delascasas@troutman.com
emily.guillaume@troutman.com

E. Lynn Dougherty (VSB No. 20558)
131 8th Street

Bristol, TN 37620

Telephone: (423) 764-1313
Facsimile: (423) 968-2108
dougherty@eldlaw.com

Cowssel for Plaintiff
The Cyy of Bristol, Tennessee

2 IL,

John D. Adams (VSB No. 65203)
Justin D. Howard (VSB No. 94108)
Erin B. Ashwell (VSB No. 79538)
Christian E. Henneke (VSB No. 45457)
McGuire Woods LLP

Gateway Plaza

800 E Canal Street

Richmond, VA 23219

(804) 775-1000 (telephone)
jadams@mcguirewoods.com
jhoward@mcguirewoods.com
eashwell@mcguirewoods.com
chenneke@mcguirewoods.com

Counsel for the Defendant
The City of Bristol, Virginia
